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                                                                                         Chris Daniel • District Clerk Harris County
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i                                                                                                            Sy: CANDICE ARNOLD
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0                                                CAUSE NO. 2012 - 27197
I
            MOKARAM-LATIF WEST LOOP, LTD.,                     §             IN THE DISTRICT COURT
               Plaintiff,                                      §
5                                                              §
2      v.                                                      §
9                                                              §
       ALI CHOUHDRI,                                           §
0            Defendant, Cross-Plaintiff,                       §
0                                                              §
4      V.                                                     §
5                                                             §
       ANGEL VALLE,                                           §              HARRIS COUNTY, TEXAS
                                                              §
               Defendant,                                     §
                                                              §
       V.                                                     §
                                                             §
       OSAMA ABDULLATIF,                                     §
                                                             §
      Cross-Defendant,                                       §
                                                             §
      v.                                                     §
                                                             §
      ALI MOKARAM,                                           §
           Intervenor, Cross-Defendant.                      §             190th JUDICIAL DISTRICT



              ORDER GRANTING ALI MOKARAM'S FIFrH MOTION FOR SANCTIONS

              On April 22, 20 I4 Ali Mokaram ("Mokaram'') filed his Fifth Motion for Sanctions seeking

      reimbursement for reasonable and necessary attorney fees he incurred as the result of the dilatory

      tactics used by Ali Cboudhri, and his attorneys. collectively ("Choudhri'') to obstruct the discovery

      of his personal tax returns and those of Texas Reit, L.L.C., a Choudhri controlled entity.

      Mokaram's Motion is granted.




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                                          EXHIBIT AA-3                                       Exhibit E-3
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0              Judge Kerrigan ordered the production of the tax returns from Choudhri on October 2,
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·;      2012. The production of the tax returns of Choudhri and Texas Reit became a case study in
5      obstructionist conduct. Mokaram's Fifth Motion for Sanctions provides a fair delineation of the
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       measures Mokaram's counsel undertook to enforce Judge Kerrigan's order. This order granting
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0      sanctions attaches Mokaram's timeline contained in his Motion as Exhibit A and incorporates it
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6      herein for the purpose of providing a description of the struggle to obtain the production of the

       previously compelled documents.



              Fwthennorc, Mokaram subpoenaed the records from and took the dep ition ofChouWui's

       tax accowitant Juan Frias. Juan Frias was produced as a person who could pro.yidcjnsight1nto the

       accounting and tax records for Choudhri and Texas Reit.

              Mr. Frias is the owner ofHouston Tax Consultants which purportedly prepared the tax

      returns for Cboudhri and Tau Reit for several years. Mr. Frias was either unable or wiwilling to

      provide any insight into either the preparation or filing of Choudhri's tax returns or the

      inconsistence., in the QuickBooks accounting records for Texas Reit. The deposition ofJuan Frias

      was in the 1iteraJ sense, a waste of time.



             The conduct of Choudhri did cause delay and additional expense, including attorney' fees

      and costs, and is sanctionable under Chapter 10 of the Texas Civil Practice and Remedies Code

      and Rules 13 and 215 of the Texas Rules of Civil Procedure. Scott Funk, counsel for Mokaram,

      has provided a redacted copy of his finn 's billing records which document the hours expended and

      the concomitant hourly rate of those providing legal services on behalf of Mokaram in their effort

      to procure a copy of the relevant tax and accounting infonnation (See Exhibit B).



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                                          EXHIBIT AA-3                                     Exhibit E-3
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                ' . Wik was very conservative in segregating the time he attributed to the obslructionist
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5                           i. Additionally, the recalcitrance of Choudhri necessitated the retention of an
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       independent accounting finn to submit the signed tax fonns for all the parties to the lntcmal
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       Revenue                   rotocol resulted in additional fees of approximately four thousand dollars
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              The imposition of sanctions is directly related to the offensive conduct. This Order

       granting Sanctions is calculated to eter further discovery abuses. Furthennorc, it is the opinion

       of the special Master that if2   se1 for Ch udhri was the impetus for the dilatory tactics, Choudhri

       was unquestionably aware of.t5ese nc o non-compliance.



              For the reasons stated above, Choudhri s~ pay as Sanctions to Mokaram to reimburse

      him for his attomey fees and costs the sumo $11,657.S0 (eleven thousand six hundred fifty seven

      and .050/00.) no later than July 23, 2014.

              I am hopeful this order will serve the pu!P()se to c ure compliance as discovery continues

      in this case.

                                             Respectfully su    itted,



                                             -----~             - - ---
                                             Scott Link
                                             Special Master
                                             LAW OFFICE OF SCOTT LINK
                                             SBT#: I 2390900
                                             133 I Lrunar Street, Ste. 1250
                                             Houston, Texas 77010
                                             Telephone: (713) 225-11 18
                                             Facsimile: (7 J 3) 222-690




                                          EXHIBIT AA-3                                       Exhibit E-3
     Case 23-03141 Document 369-2 Filed in TXSB on 12/06/24 Page 4 of 5



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0                                        CERTIFICATE OF SERVICE
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               J hereby certify that on this 19th day of July, 2014, a true and correct COPY. of the above
l      and foregoing document has been served upon all parties to this case, pursuant to Texas Rules of
5      Civil Procedure.
2
8      Rodney L. Drinnon                                                          Via Email
0      McCathern. PLLC
0      200 West Loop South, Suite 2100
4      Houston, Texas 77027
8      Tel. (832) S33-8689
       Fax: (832) 213-4812

       Joe Sibley                                                                 V/4 Em4II
       Camara & Sibley L.LP.
       4400 Post Oak Pkwy, Suite 2700
       Houston, Texas 7702.7

      Chris Di Ferrante                                                           Via Email
      401 East 11 111 Street
      Houston, Texas 77008

      Tom Phillips                                                               Via Email
      Baker Botts, L.L.P.
      98 San Jacinto Blvd., Suite 4S00
      Austin, Texas 78701

      C. Scott Funk                                                              Via Email
      Looper Reed & McOra}V, P.C.
      1300 Post Oak Blvd., Suite 2000
      Houston, Texas 770S6

      Allan D. Goldstein                                                         Via Email
      Morris Lendais Hollrah.,& Snowden
      I980 Post Oak, Suite 700
      Houston, Texas 77056




                                                                     SCOTILINK

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                                         EXHIBIT AA-3                                     Ex hibit E-3
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9           I, Chris Daniel, District Clerk of Harris
            County, Texas certify that this is a true and
0           correct copy of the original record filed and or
0           recorded in my office, electronically or hard
4           copy. ns it appears on this date.
9           Witness my official hand and seal of office
            this September 17. 2014


            Certified Document Number:        6 I646895 Total Pa~es: 4




            Chris Daniel, DISTRJCT CLERK
            HARRIS COUNTY, TEXAS




      In accordance with Texas Government Code 406.013 electronically transmitted authenticated
      documents are valid. lftbere is a question regarding the validity of this document and or seal
      please e-mail support@hcdlstrlctclerk.com




                                                     EXHIBIT AA-3                               Exhibit E-3
